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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :


                 v.                            :       23-CR-321-JEB


JAMES RAY EPPS, SR                             :

DEFENDANT’S RESPONSE TO THE GOVERNMENT’S SENTENCING MEMO

       COMES NOW, the defendant, James Ray “Ray” Epps, SR, through counsel, and

respectfully responds to the Government’s Sentencing Memo (ECF 16).

       1.        First, Mr. Epps did not “engage[] in felonious conduct” on January 6th.

See ECF 16 at 2. As he admitted in his Statement of Offense (ECF 5) and as his charge of

conviction is clear, his crime is a misdemeanor disorderly or disruptive conduct. The

government does not elaborate on its contention, which seems to seek to give the false

impression that the government’s request for a six-month period of incarceration comes

from magnanimity. It surely does not and is not. Mr. Epps should no more be sentenced

for “felonious conduct” as than the hundreds of other defendants who have been

sentenced as misdemeanants for their misdemeanor offenses, whether they came after a

trial, a post-information/post-indictment negotiated plea, or an early pre-charge resolution

like Mr. Epps.

       2.        Second, to be clear, Mr. Epps is not working, but he is not “retired” as put

it by the government, ECF 16 at 1. He was running a family property that contained a

special-events venue and other businesses before selling it all and going into hiding

because of threats against him and his wife as a result of dangerous misinformation




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stoked on the internet about him. He enjoys no golf, tennis, travel, or other trappings of

retirement. They live in a trailer in the woods, away from their family, friends, and

community. There, Ray and Robyn Epps attempt to stretch their savings far earlier than

anticipated contrary to their life plans and needs.

       3.      Third, the government’s arguments about Mr. Epps and his conduct on

January 6th are grounded in inaccurate, sinister suppositions, perspectives, and inferences

that present a misleadingly aggravated view of Mr. Epps’ actions than what he actually

did. Some corrections are worth making now. Mr. Epps did not point forward toward the

line of officers. ECF 16 at 11. He pointed upward. That movement had nothing to do with

the officers or with getting the sign toward officers. The sign did not “pass beyond his

grasp.” Id. (caption to Exhibit 11). Mr. Epps barely touched the sign as it passed directly

over, and by, him. If he had not lifted it over his head, it would have been pushed right

into him. Afterall, in the same episode (not so-called two separate acts of violence) when

it was past him, he turned away and walked away from it to the front to divide protestors

from the police and to deescalate the protestors. Nor was he pushing forward in unison

with others, see id. at 12, before he worked his way to the front. To the contrary, Mr.

Epps felt stuck in the middle of a congested crowd. He moved as he could to get out of it.

The videos show him moments later walking in free space between protestors and

officers, trying to deescalate the protestors in support of the police officers. All direct and

inferential evidence support that, while present, Mr. Epps did not engage in violence. The

idea that Mr. Epps engaged in any act of violence toward the officers he was supporting

is contrafactual to the full range of his behavior on January 6.




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       4.      Fourth, on both January 5 and at the Trump rally on January 6, Mr. Epps

sought to support peaceful protest at the Capitol. With the receipt of multiple mail-in

ballots arriving at his property for persons who did not live there, he observed potential

irregularities himself, and he had absorbed the propaganda espoused on Fox News. At

that time, he understandably held concerns about the election’s accuracy. But as more

recent statements by Mr. Epps make clear – including but not limited to his statements to

the PSR writer – he has concluded that “Joe Biden won fair and square.” Similarly, the

government exaggerates a belief by Mr. Epps that Antifa was behind January 6th. He is

the victim of a conspiracy theory, not the propagator of one. On January 6 and in the

months that followed, he knew that many of the people who were there that day and

acting out were fellow Trump supporters. He never attributed the full violence to Antifa

members. For example, Mr. Samsel and the others who Mr. Epps spoke to about staying

still, backing up, and not making problems for the police officers were people that Mr.

Epps understood to be fellow Trump supporters. For a time afterward, as someone who

believed in peaceful protest and saw non-peaceful agitation, he questioned how so many

Trump supporters could be so wrong and thought there might also be left-wing persons

amidst the crowd stirring the pot. Mr. Epps concluded long ago that any such thoughts

were wrong, as he has reflected in statements made long after his congressional testimony

and newspaper interview. Most illuminating for him was watching the Select Committee

proceedings. He educated himself. Counsel makes clear what should already be clear:

Mr. Epps does not believe the Antifa lies that were fed over the airwaves before and after

January 6th (and that seem to be recurring as the 2024 Presidential election heats up).




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President Trump and his supporters caused and were the participants at the January 6th

riot.

         5.     Fifth, this Court should apply Guideline § 4C1.1 and establish a two-level

decrease in Mr. Epps’ offense level. Mr. Epps did not engage in violence against police

officers, and the government’s arguments against application of the guideline are just

makeweight. While his hands briefly touched the metal sign, he did not push it toward

police officers. There is no evidence that he had any idea that was going to happen. The

evidence shows that he stopped touching the sign and was walking in a different direction

when others pushed it forward. He did not point forward to officers. He pointed upward.

And in any event, his pointing had nothing to do with the sign or officers. He was not part

of a “rugby scrum that surged forward and pushed against” officers. Id. at 18. First, it is

not clear to counsel that there was such a scrum, or that others had that intent; but

regardless, Mr. Epps is seen being pushed himself and trying to push a guy away from

him so he could turn and move away. He is viewed turning and walking in a different

direction. And moments later he is engaging in one of the many instances in which he

tried to quell violence and actions toward officers. It makes absolutely no sense that he

would try to inflict harm on law enforcement seconds before while they were the ones

was trying so hard to protect and had already tried to protect when speaking with Mr.

Samsel and others earlier. The argument that he engaged in violence collapses in the face

of the evidence.

         The government’s contention is also refuted by the charge before the Court. The

government gave Mr. Epps a take-it-or-leave-it plea offer to an offense pursuant to 18

U.S.C. § 1752(a)(2), rejecting counsel’s counterproposals under 40 U.S.C. §




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5104(e)(2)(D) and 18 U.S.C. § 1752(a)(1). Significantly, as it relates to this guidelines

provision, Mr. Epps is not convicted under § 1752(a)(4), which condemns “knowingly

engages in any act of physical violence against any person or property in any restricted

building or grounds. (emphasis added).” If Mr. Epps had been convicted of Subsection

(a)(4), then the reduction would likely not apply. But in contrast, Subsection (a)(2) does

not include violence as a component. Congress excluded “violence” for a reason with

regard to Subsection (a)(2); the government cannot simply read it back in. Thus, Mr.

Epp’s conviction for which he is about to be sentenced does afford him the benefit of the

4C1.1 offense level reduction.

        The government cites “three cases in which courts have rejected the application of

§ 4C1.1 to January 6 defendants who engaged in violence.” Id. at 18 (citing cases). Yet

that is the point, those defendants were charged and convicted of violent offenses, and

their facts clearly established acts of violence. Brian Gunderson and Kaleb Dillard were

both convicted of assaults on federal officers, in violation of 18 U.S.C. § 111(a)(1). Mr.

Baquero had a § 111(a) charged dismissed as a part of a plea agreement in which he

pleaded guilty civil disorder before this very Court, which knows that case facts well

itself. Of course, a grand jury found probable cause that Mr. Baquero engaged in violence

through its § 111(a) indictment. The government’s sentencing memo in that case reflects

violence by Mr. Baquero: he pushed twice against officers within the Capitol and,

separately, grabbed the hand of an officer that was holding a baton, a classic assault on a

police officer.

        The guideline went into effect after much discussion and debate (with a series of

objections by the government that it partially recycles here) long after January 6, 2021.




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The guideline applies to defendants who committed offenses on that day in this place no

different than it applies to defendants who committed offenses on other days, in other

places. And because § 4C1.1 applies, this Court should apply Guideline § 5C1.1: “If the

defendant received an adjustment under § 4C1.1 (Adjustment for Certain Zero-Point

Offenders) and the defendant’s applicable guideline range is in Zone A or B of

the Sentencing Table, a sentence other than a sentence of imprisonment, in accordance

with subsection (b) or (c)(3), is generally appropriate (emphasis added).” For Mr. Epps

who was convicted of a non-violent misdemeanor and who is in Category A, a sentence

other than imprisonment is appropriate. Of course, the Court need not apply the

adjustment to impose a probationary sentence as a sentence of 0 months (probation) is

within the sentencing range even with the offense level of 8, and courts in this district

routinely gave non-incarceration sentences for similar conduct before the existence of §§

4C.1.1 and 5C1.1. The guidelines simply provide even more of a basis for a probationary

sentence than already existed.

       Sixth, the government’s argument with regard to the need to avoid unwarranted

sentencing disparities misses the mark as to the appropriate sentence. The defense agrees

with the government that the Court must sentence Mr. “Epps based on his own conduct

and relevant characteristics.” Id. at 25. The Court does so in a way that respects due

process by ensuring that the severity of his sentence is warranted when compared to the

sentences of similarly situated defendants. Mr. Epps’ personal characteristics are at the

top one percent of mitigating for all January 6th defendants. With the exception perhaps

of those defendants who the government entered into formal cooperation agreements for

assistance in prosecuting the most culpable and violent defendants and who consequently




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received substantially reduced sentences, Mr. Epps’ cooperation with law enforcement

and legislative authorities, combined with the vitriol and danger he has received as a

result, stand in high contrast to all other January 6 defendants.

       Additionally, the government’s reliance on Straka, a § 40-5104(e)(2)(D) case,

highlights the close connection between the charge that Mr. Epps entered his guilty plea

and the Class B petty offenses that exclude the additional element that the disorderly

conduct was in a restricted area. Mr. Straka’s disorderly conduct was also outside the

Capitol in a restricted area, far closer to entry than Mr. Epps.

       The government contends that Mr. Epps conduct was worse than Mr. Straka’s and

thus Mr. Epps’ deserves a harsher sentence. More so, the government reasons that the

difference is so great that this Court should give six months in prison whereas Mr. Straka

received three years of probation with ninety days of home confinement. Even if one

were to accept the premise than Mr. Epps’ conduct was worse – and it was not – the

government’s proportionality makes no sense. Add to that the fact that Mr. Straka’s

conduct was worse than that of Mr. Epps, as is reflected in the government’s sentencing

memo in Mr. Straka’s case and in the transcript of his sentencing hearing. To be true, Mr.

Straka’s case is yet another example supporting that Mr. Epps should receive probation of

no more than a year, absent any home confinement, with standard conditions.

       On January 5th, Mr. Epps spoke to some members of a group that had already

formed at Black Lives Matter Plaza and encouraged them to go peacefully to the Capitol

the next day. He had no influence over them; they called him a Fed. Nor would he have

any influence on anyone who might have seen a livestream of his remarks that were

getting shouted down. As he talked with that group, there were other, separate groups at




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the Plaza. In talking with this group, Mr. Epps was trying to suppress their irrational

desire got looking for so-called Intifada members and to cause problems for the police.

Similarly, at President Trump’s rally the next day, he encouraged others to go to the

Capitol – intending in a peaceful way. Folks were already planning to and heading that

way. Others were similarly pointing out the direction of the Capitol. He was not leading.

And he never advocated violence or anything close to violence. Mr. Epps was speaking to

people before him as a man and father, not a social media leader as was Mr. Straka. In

contrast, before January 6th, Mr. Straka said that a civil war had begun and “we’re not

going to be peaceful much longer.” A founder of a prominent social movement, Mr.

Straka fired-up his supporters to violent reject the election results at the Capitol.

       Mr. Epps went to the Capitol from a sanctioned political rally to register his

political view in a peaceful way. Mr. Straka traveled to the Capitol to add to existing

violence; he only went to the Capitol after hearing it had been breached. Mr. Epps never

encouraged violence or “storming.” Upon arrival, Mr. Straka actively encouraged more

than a million followers to storm the Capitol. As opposed to Mr. Epps’ signature efforts

of helping police officers, Mr. Straka encouraged those with him to take an officer’s

protective shield from the officer, chanting along with them as they did so and after,

“take it, take it.” After leaving the scene, Mr. Straka saw what was happening on social

media and television, and encouraged his over 1 million social media followers to

“HOLD. THE. LINE!!!!.”.

       Mr. Epps is honest, credible, and reliable in his accounts. At Mr. Straka’s

sentencing hearing, Judge Friedrich found that Mr. Straka was not credible about what he

knew and his view of what was happening at the Capitol. Tr. of Sentencing Hearing, U.S.




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v. Straka, 21-cr-579-DLF (ECF 60) at 20. She found that he “was acting and encouraging

and condoning.” Id. at 29. As of sentencing, “he still persists in this idea that it is okay to

storm the Capitol to contest an election.” Id. at 30. Judge Friedrich found it “deeply

troubling that Mr. Straka used his social media platform to encourage and defend the

unlawful acts that occurred on January 6 … to his “over a million followers.” Id. at 41.

Mr. Epps, on the other hand, is viewed as a traitor and pariah by Trump supplicants who

have ingested lies about him. Judge Friedrich imposed three months of probation, with

three years of probation. Id. at 44. That extended length of probation was because, for

Mr. Straka personally, she felt “deterrence is so important” to this social movement

leader. Id. Mr. Straka encouraged violence; Mr. Epps discouraged it. Mr. Straka

continued to believe those views. Mr. Epps rejects them. The government’s referencing

this case is helpful: This Court should impose a sentence on Mr. Epps that is less punitive

than that given Mr. Straka consistent with counsel’s request in the initial Defendant’s

Position on Sentencing.

                                      CONCLUSION

       For the reasons above, on behalf of Ray Epps, undersigned counsel requests that

the Court impose a probationary sentence with conditions that may but do not necessarily

include a firearms restriction, restitution of $500, and the mandatory $25 special

assessment. Counsel reserves the right to make additional requests at the time of the

sentencing hearing.

                                               Respectfully submitted,

                                               RAY EPPS, SR.
                                                    By Counsel




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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of January 2024, I electronically filed a true

copy of the foregoing motion with the Clerk of Court using the CM/ECF system, which

will send a notification of such filing (NEF) to all parties.

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